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                                   4                                  UNITED STATES DISTRICT COURT

                                   5                                 NORTHERN DISTRICT OF CALIFORNIA

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                                   7     PHILIP GOLUBOWSKI,                                  Case No.21-cv-09767-EMC
                                                        Plaintiff,
                                   8
                                                                                             JUDGMENT
                                                  v.
                                   9
                                                                                             Re: Dkt. No. 97
                                  10     ROBINHOOD MARKETS, INC., et al.,
                                                        Defendants.
                                  11

                                  12
Northern District of California
 United States District Court




                                  13          On January 24, 2024, the Court granted defendants’ motion to dismiss. Pursuant to

                                  14   Federal Rule of Civil Procedure 58, the Court hereby ENTERS judgment in favor of defendants

                                  15   and against plaintiff. The Clerk of Court shall close the file in this matter.

                                  16          IT IS SO ORDERED.

                                  17   Dated: January 24, 2024

                                  18                                                     ______________________________________
                                                                                         EDWARD M. CHEN
                                  19                                                     United States District Judge
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